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                                     NOTICE OF APPEAL

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK

  DR. DANIEL HALLER and LONG ISLAND
  SURGICAL PLLC,

  Plaintiffs,
                                                       NOTICE OF APPEAL
                  v.
                                                       No. 21-cv-7208-AMD
  U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES et al.,

  Defendants




         Notice is hereby given (in accordance with this Court’s November 9, 2022 Scheduling

 Order) that DR. DANIEL HALLER and LONG ISLAND SURGICAL PLLC, hereby appeal to

 the United States Court of Appeals for the Second Circuit from all parts of the Decision and

 Order of the Honorable Ann M. Donnelly, denying plaintiffs’ motion for declaratory and

 injunctive relief concerning the “No Surprise Act” and related “Administrative Procedure Act”,

 denying a restraining order and injunction, and granting defendants’ motion to dismiss all causes

 of action, including the seventh amendment claim, fifth amendment takings claim and due

 process claim, deprivation of common law claims, and claims the Regulations exceed authority

 by the Act, and entered as a judgment on August 11, 2022.

 Dated: November 17, 2022

                                                   Respectfully Submitted

                                                   /S/ Nick Wilder, Esq.
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